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undisputed that Rule 45 says that motions for enforcement or

motions to quash any motion concerning the scope of a Rule 45
Subpoena, that the power there is best to be heard by the court
that issued the subpoena, in this case, the court in
California, and what the defendants argues is that Section 1407
by virtue of its consolidation procedures gives this court
power that essentially trumps Rule 45, and they cite a couple
of cases for that proposition. We cite the Visics (ph) case,
which says that Rule 45 controls, and we submit to you that the
case that we cite is probably better authority because it
comports with sound statutory construction principles. The
provision at issue in Section 1407 is this, there is a portion
of that statute which Says that the judge or judges to whom MDL
actions are assigned, may assign the powers of the district
judge in any district for the purpose of conducting pretrial
depositions in such coordinated or consolidated pretrial
proceedings. Now, that's very clean language. It only refers
to depositions. That's the only discovery matter specifically,
you know, assigned to the transferee court, and the most basic
cannon of statutory construction Says that you read a statute
the way it's written. Congress is presumed to know the meaning
of the, of the terms of the statute. It, it's not a stretch to
Say that Congress knows what the term deposition means.
Congress is responsible for the content of Rules of Civil

Procedure, so they’re presumed to know what-~

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THE COURT: And a lot of other things.

MR. McGINTY: But they presume to know what Rule 45
says.

THE COURT: Including the fact that we don't get a
raise, )

MR. McGINTY: That too, unfortunately. The mission
to refer to matters of, in depositions can only be taken to be
purposeful, -and, and the way that the authority say about the
defendants gets around that is they appeal to some general
policy argument concerning the nature of a 1407 proceeding
saying well, it says that coordinated or consolidated pretrial
proceedings shall be conducted by a judge or judge to whom such
actions are assigned. Gee, you know, that’s if there's a
policy for them to get everything, but if that's true, why have
the separate reference to depositions at all. If that
consolidation language is good enough to give this Court
control over Rule 45 matters, you wouldn't need to refer to
depositions at all. So the question is why--

THE COURT: Well, does it not refer to depositions
that can be going on in another district where disputes arise?

MR. McGINTY: That's, I think that’s the purpose,
your Honor, is that Rule 30 of the Rules of Civil Procedure has
very specific provisions referenced in the Visics’ case,

30(B) (4). It says that any time during a deposition on motion

of a party or of the deponent and upon a showing of, you know,

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that the examination is being conducted in bad faith, et

cetera, et cetera, et cetera, the court in which the action is
pending or the court in the district where the deposition is
being taken may order the officer conducting the examination to
cease forthwith or may limit the scope or manner or whatever,
What this essentially says is that depositions being a special
case where stuff happens, if you need to suspend and get a
ruling, Section 1407 says you go to the transferee court.
That's the purpose of having a specific reference to
depositions in Section 1407. Otherwise, there's no reference
to any other kind of discovery, Rule 45 should control, and as
a third party, not a party to the case, Health Net is the third
party stranger to this case, resident out in California
producing documents in site two within California should be
subject to the jurisdiction of the California court. And it
makes sense for a number of reasons, in particular, for issues
that had been raised in this motion although I think have
been--

THE COURT: Well, it makes no sense in terms of thé
fact that the judge in California knows absolutely nothing
about the case.

MR. McGINTY: Well, I think that's the, that's the--

THE COURT: Particularly in a complex case.

MR. McGINTY: Well, that's always going to be the

case, your Honor. I mean cases can be incredibly complex

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Without being an MDL proceeding, yet Rule 45 nonetheless gives

the local court the authority to determine the propriety of the
discovery that's being sought.

THE COURT: Okay, I'll hear from your brother just on
this issue of jurisdiction.

MR. MANGI: Your Honor, I admire my learned friend’s
efforts to create an issue on the jurisdictional point, but
it's one that doesn’t exist. The case law is discussed
extensively in our reply papers, and I'm happy to hand up the
pages if your Honor would like them. ‘There are numerous cases
that address this precise issue. It's come up many times and
all of them uniformly hold that the MDL court has jurisdiction,
and, in fact, exclusive jurisdiction over these matters.

What’s more, they go into the logic for that. as your Honor just
pointed out, judicial economy demands that the judge most
familiar with the litigation hear these disputes. The district
for example pointed to that precise factor in the Boise case.
Similarly, the, Poe case in the District of DC said it would
make no sense if depositions were heard in one place, documents
in another. All these cases, and there are plenty more,

there's Factor A from the Northern District of Illinois,

Sunrise Securities from the Eastern District of Pennsylvania,

Dupont Plaza from Puerto Rico, even Wright & Miller have spoken

to this point. All of them uniformly stand--

THE COURT: Dupont Plaza is a First Circuit Case, so

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yes.

MR. MANGI: -- that the MDL court has jurisdiction.
Now, the Visics case that, that my learned friend relies on,
that court explicitly distinguished this situation. They
applied their ruling only to cases where the docket, where the
subpoena was for documents only. They expressly distinguished
cases where the subpoena was for documents and a deposition,
which is what we have here. So Visics, even in its own terms
doesn't apply and what's more, Visics was expressly rejected in
Poe, which is the leading case and it’s never been cited again.
So we would suggest that-the weight of the authority on this
issue and the weight of, of shear logic is, is simple.

THE COURT: Do you have a copy of the reply brief--

MR. MANGI: Yes, your Honor.

THE COURT: -- if it's handy. I have it.

MR. MANGI: I have a, a highlighted copy that I'm
happy to hand up if your Honor would, would ignore the
highlighting.

THE COURT: I'm colored blind. Just one point. I
remember looking at it, but there was one point that I wanted
to--.

All right, well, let's move on to the substantive
portion of it.

MR. McGINTY: I'd like to focus now on the, the

portion of the, of the request that seeks confidential

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competitive business information, namely, specific

reimbursement terms, and I'd like to, to I think clarify some
things that, that perhaps might riot have been addressed in, in
the defendants’ presentation. First of all, it's fair in a
point to say that the defendants are entitled to, to learn
about methodologies. A methodology would be to say, do you
reimburse someone on a captitated basis? In other words, you
give.them X dollars per member. Do you reimburse them based on
Some Mac type schedule where you have a separate, you have
price list for the drugs? Do you reimburse them on a formula
that says AWP minus a stated percentage plus a dispensing fee?
That's methodology, that’s what they're, that's what they're,
they're certainly entitled to get is methodology. What Health
Net is talking about is the actual price. It matters
competitively for Health Net that there is a difference, a
competitive difference between them and other, other plans with
whom they compete, whether it's just to, to use number
randomly, whether it's AWP minus 12.5% versus AWP minus 13% or
15% or whatever. What we're Saying is they can find, we can,
they're entitled to find and we've given them the information
which shows to them that it is in these exemplar contracts AWP,
AWP minus a percent. We just don't tell them what the
percentage is, and that's what we think is entitled to be
protected here. It's not clear to us why that precise

percentage is needed to be disclosed. What is clear is that it

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is going to be a competitive disadvantage for Health Net,

that, you know, Health Net believes that it does a good deal
striking, good job striking competitive deals and what is a
great competitive realm. In fact, the defendants in their own
tutorial to this Court on these issues Says these are complex
négotiations between multiple entities. There's
competitiveness at each level of the chain and Health Net is
able to price its services to its clients because it negotiates
these deals and it potentially loses that advantage if other
people know what they're able to extract from the providers
with whom they contract.

THE COURT: Well, there is a protective order here,

MR. McGINTY: Well, it's, the protective order is
certainly there, but I think it's at best an imperfect
protection, certainly one that has to get a third party
stranger to this dispute. Plus, I know that at one of the
tutorials, notwithstanding the existence of this protective
order, it's my understanding that the reimbursement rate that
Express Scripts uses to pay to CVS was actually disclosed in
open court, and there's no, there's no dispute that there's a
likelihood that this sort of information can come out at trial,
notwithstanding the protective order. So, while the--

THE COURT: Well, that's an issue for trial down the

road, that's-—

MR. McGINTY: But that's, I guess the question is

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that assuming that it is, it is, it is possible for the

purposes of allowing the defense to mount an adequate defense
to give them methodology without giving them precise pricing,
why expose Health Net to the competitive risk, and, all we're
saying is there needs to be an appropriate balancing here.
Parenthetically, your Honor, you know, the only reason we're
here is to strike this balance. There's the--

THE COURT: Well, are you proposing an alternative of
what you're willing to produce?

MR. McCGINTY: Well, first of all, as a, the point I
think I was about to make was that with respect to the
documents that that they asked for after the Geposition that
have not been produced, the only reason they have not been
produced is that until these issues are resolved, there's no
purpose in producing then, so that certainly if, if they are
resolved, we'll hand them over at that point. But I think your
Honor, that our argument is, is that what we've given which
shows them the methodology but not the precise pricing is
giving them what they need and this is an appropriate
disclosure. They have the methodology. They say that's what
they're entitled to. We're not sure why there should be
anything more produced on that point, and I think that the
Vitamins case is, is not distinguishable on the grounds that
counsel presents. Yes, the posture of the case was that it was

early in the case while motion'to dismiss was pending, but what

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was going on there is what should go on whenever there is this

type of discovery dispute. It’s a balance, and in that posture
of the case, the court is saying the need for it at this stage
is low. The risk is considerable to the producing third party,
we're going to exercise our discretion to Strike that balance
now against the production of the documents, reserving frankly
the question about what, how the balance would be struck later
on in the case, but certainly the principle holds. And, I
think where we come out on this is that defendants haven't
offered a compelling argument why the balance should be struck
here to require us to to disclose information which is going to
put us--

THE COURT: It, it may not be compelling to you--

MR. MCGINTY: -- at this stage.

THE COURT: -~ but I'm inclined to think it's
compelling to me at this point. But, anything else? .

MR. McGINTY: I mean, the other, I think one other
point just to address the issue about why it should be
important to get the precise pricing is the notion that things
are going to, you know, things change over time and, of course,
contracts are set for a fixed term. And during a contract
term, it's always going to be AWP minus whatever percentage it
is that these contracts are not indexed. Certainly if they
want to see earlier versions of contracts, we can show them

that the methodology was used and Imaybe even tell them that,

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about the magnitude of any changes in the discount that was

used over time, but the precise pricing isn't going to be
necessary to address that point.

THE COURT: Two minutes--

MR. MANGI: Your Honor--

THE COURT: -- on why you need the precise pricing.

MR. MANGI: Absolutely. Your Honor, the fact that
AWP maybe used in some of Health Net's contracts doesn’t give
defendants any information that's not available in the public
domain. Some insurers use AWP for some of their contracts, as
does Health Net. Health Net also uses other methodologies,
such as capitation in some cases. But, the key parts, and I'11
try not to repeat myself, is that one can only carry out useful
analysis using the actual numbers, and I'll take just one
example leaving aside the four I discussed, and go back to the
bundling point. These contracts are competitive bargains in
the marketplace. I completely agree with my brother on that,
but the only way you can assess that is by looking at the
terms. If for example there's a lower amount being paid in
reimbursement, there'll be a higher amount being in the
dispensing fee. There'il be other terms of the contract that
may come in and be relevant, the financial terms that'll modify
those accounts, the expectation theory. There's no way to
counter that unless you know the exact terms. If I know that

they use AWP in some contracts, that doesn’t tell me anything

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about whether’Dr. Hartman's expectation is valid or not.

There's simply no way if you look at even at the tutorial,
which is public. Defendants use some Scatter clause showing
Claims data and precise reimbursement points. You can't make
those points with only methodologies.

The only other point, your Honor, that I'1l make
briefly is in terms of the other documents. As your Honor
knows, this subpoena was issued in, in November of, of 2000.
These additional documents that were sought after subpoena,
most of them were nothing new. They were: stuff we'd asked for
originally. The witness just testified about them. So I would
request that if your Honor is inclined to grant these motions,
your Honor also provide a specific timeframe as we requested in
our proposed order so we can get all of these documents
tegether in time for summary judgment. |

Thank you, your Honor.

THE COURT: All right, I'll move on.

MR. McGINTY: I'm, I'm sorry.

THE COURT: Just seconds. Do you want a quick
response or--

MR. McGINTY: Actually, one, one point which I think
is not a matter of great dispute but I did at least want to, to
raise here is that we had, we had raised in our papers the
notion that, that some of what they're seeking with respect to

claims data is very expensive to try to recover because it's

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archived, and it's my understanding the defendants have

conceded that they would be obligated to pay for that. We
think that any order requiring the production of that data
should provide the defendants will bear the reasonable cost of
recovering the archived data.

MR. MANGI: Your Honor, we stated we'd pay for it
before we even asked for it.

THE COURT: All right. All right, moving on to your
motion. I'11-- |

MS. CICALA: ‘Thank you, your Honor.

THE COURT: I'll hear the argument on both motions,
take a brief recess, and then give you a ruling from the bench.

MS. CICALA: Thank you, your Honor. Just a point of
clarification. Suffolk County had filed a second motion to
compel against Schering-Plough. We served that on defendants
on January 20°. They responded on the 25. It was not
regrettably filed with the court until yesterday. I don't know
if your Honor is expecting to hear argument on that today. I am
prepared to proceed if you would like. I can't speak for
defense counsel on that, but I'll leave it to your Honor.

THE COURT: Well no, because I don't have it. This
docket was just, the docket that T had yesterday, didn't have
it on it. This docket was just printed out this morning and--

MS. CICALA: It concerns a narrow issue of, regarding

production of sharing documents related to their Texas

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litigation.

THE COURT: For the record, for the record it’s
docket entry number 1300.

MS. CICALA: Thank you.

THE COURT: Well, we'll see. I mean, if your brother
is prepared to address it as well.

MR. McGINTY: Your Honor, we are prepared’ to address
it if you'd like to hear the motion.

THE COURT: Well, then we might as well.

MS. CICALA: Thank you, your Honor. Should we do
them one at a time, however?

THE COURT: Please.

MS. CICALA: Okay. The first motion filed by Suffolk
concerns the form of the discovery being produced to it by
Schering-Plough. And specifically, Suffolk seeks Schering's
compliance with that part of CMO 10 that directs any of the
parties to produce any documents available in electronic
format, shall be so provided in that format. Suffolk began
it's review of Schering documents in Boston a couple of months
ago, and in the course of that review, confirmed that those
same documents it was reviewing in hard copy were available
electronically. However, Schering refused to produce them to
us electronically on the basis that the liaison counsel and the
MDL had negotiated with Schering that the documents would be

produced in hard copy. We were not privy to those discussions

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and did not elect to receive documents in hard copy. For most

of these, our preference is to receive them electronically, and
we would like to be able to do that.

THE COURT: Well, if they're available in hard, in -
electronic form, why can't they have it that way?

MR. CHRISTOFFERSON: Thank you, your Honor. I think
the answer to this question lies in Case Management. Order No.
9, which preceded Case Management Order No. 10. it, it is true
as counsel for Suffolk has suggested, that Schering had
hundreds of thousands of documents, responsive Paper documents
scanned into electronic format at a cost of nearly $300,000 to
Schering. Case Management Order No. 9 requires liaison counsel
to coordinate discovery for Plaintiffs from cases that were
brought by government entities, including Suffolk. Schering
offered to provide those responsive documents to lead
Plaintiffs in electronic format if they would agree to share in
the cost. The lead plaintiffs declined that offer and
requested that we produce those documents in paper form, which
we did. Case Management Order No. 9 also requires defendants,
Schering, to make available to Suffolk those documents that
were made available to the lead Plaintiffs to the extent that
those documents relate to drugs identified in Suffolk's
complaint. Schering made available those documents to Suffolk.
Suffolk has reviewed those documents and those were documents

that were related to Suffolk's complaint, the drug identified

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in Suffolk's complaint. Suffolk has reviewed the documents

and, contrary to their assertions, under the Case Management
Orders, Schering is not required to make additional and
separately negotiated productions to Suffolk. Notwithstanding
the reliance on Case Management Order No. 10, Case Management
Order No. 10 did not supplant or revise the language regarding
discovery coordination in Case Management Order No. 9. The
whole point of this Case Management Order is to avoid
unnecessary and duplicative discovery requests and negotiations
and the associated costs. Suffolk now apparently wants to
substitute themselves into the position of lead plaintiffs, but
that's not a decision that either Schering or Suffolk can make.
Schering has made the documents available to Suffolk. suffolk
has reviewéd those documents, and nothing more is required of
Schering.

THE COURT: I'm inclined to agree.

MS. CICALA: Your Honor, I, I don't, I, I'm unsure ©
what my brother refers to when he refers to us being lead
Plaintiffs. I mean, Suffolk has an independent case. It’s not
part of the class case. It was not consulted so, first of all,
I don't understand why Suffolk should be bound--

THE COURT: But I think everybody has to play by the
Same rules here. I mean, the idea is to keep the cost down.

MS. CICALA: Absolutely agreed, your Honor. Had

Suffolk the opportunity, had liaison counsel in any way

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consulted with Suffolk before making a unilateral decision

with regard to how it sought to collect the sharing materials,
then I would not be standing before you. But regrettably, and
we have a motion that continues to be subjudice on this issues,
regrettably, Suffolk was not privy, was not included in any of
those discussions. Then perhaps the issue should be--

THE COURT: Well I think your issue-~

MS. CICALA: -- addressed between-~

THE COURT: -- is with liaison counsel.

MS. CICALA: So it would seem, your Honor. If I may
Say one more thing though. However, on the issue of cost and
efficiency, I cannot understand how there is any excessive cost
or inefficiency in Schering delivering to us electronically
that which is available electronically. The, there's no, we're
talking about a punch, you know, a click of a button, a copying
of a CD, as opposed to copying papers and transmitting boxes
which is certainly under any scenario, far less efficient.

THE COURT: Well, it sets a precedent. That's the
only problem.

MS. CICALA: I'm afraid that the precedent that may
be set here, however, your Honor, is that Suffolk County and my
other clients, frankly, I also represent the City of New York
and the counties of Rockland, Westchester, Onijaga (ph), and
humerous other counties who are about to join in this

litigation who have separately retained us, that each of these

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important governmental entities, the City of New York, for

example is one of the largest Medicaid payers in this country,
Shall be prejudiced by the fact that liaison counsel in this
matter has not conducted itself as liaison counsel. I'm sorry
to have to say this, should be conducting itself, i.e.,
coordinating with those parties for whom has been charged to
coordinate. Now, if the issue is that I need to address that
more strenuously with liaison counsel and this Court, then that
will be our route.

THE COURT: All right, briefly.

MR. CHRISTOFFERSON: Your Honor, just briefly, if I,
if I may. I think the bad precedent that may be set here is
precedent that is, that is negative towards the defendants
because Schering spent over, nearly $300,000 preparing these
trial preparation materials. There's a large amount of sum
cost that have gone into that process and if now simply just by
asking and not following the Case Management Orders the other
counties and other plaintiffs are allowed access to those
documents, it is a windfall for them and a loss to Schering.

THE COURT: All right,

COUNSEL: Your Honor-

THE COURT: -- now I'll hear you on the other.

COUNSEL: -~ if I could just briefly as counsel for
liaison counsel just speak to what's been said, I, I do take

offense to the fact the statement that liaison counsel has not

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conducted themselves in a manner which is appropriate for

liaison counsel to conduct themselves. At the time, I haven't
been privy to all of the negotiations with respect to Schering-
Plough, but when we negotiated with Schering-Plough, we did so
in. what we thought was the most efficient Manner. There are
plaintiffs who came in, you know, either during or after those
negotiations took place. We were not purporting to negotiate
on behalf of absent plaintiffs who come in afterwards. it's
not clear to me that Suffolk even had document requests pending
at the time that that negotiation was had. And let me just
tell you about where we ended up with respect to Schering's
documents and the reason we did what we did. Schering
indicated the volume of documentation that they had available
in paper. We knew from our investigation of the case and from °
experience that a lot of that paper was going to be useless to
us, and turning that into electronic format would be even more
useless. It would be a waste of time and money for all
involved. So our approach to this entire thing is when they
tell us we have 600 boxes available in a warehouse down in New
Jersey, we send a team of lawyers to go down there and cull
through that 600 boxes and pick out however many boxes, a
subset of those boxes that are relevant to the case, and we had
those documents copied in Paper format and sent to our offices
and had them distributed widely amongst the co-lead counsel who

are working on our case, and analyzed and are not in one

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specific format or place that are able, you know, they're

Sharing 600, what, what have you. That's how we've tried to
cut things back. We didn't think it made sense to wholesale
copy things. Believe me, I was in one of those warehouses for
two to three days, and there was a lot of stuff that no one .
wants; and it didn't make sense to do it any other way.

THE COURT: All right. Do you want to be heard on
1300?

MS. CICALA: Yes, thank you, your Honor. Suffolk's
second motion concerns a document request it served on
Schering~Plough seeking production of all documents and
materials, including deposition transcripts and so forth, that
Schering produced to the State of Texas in its litigation with
the State of Texas. Schering's objection to our request is
that the production, well, initially Schering said that there
were not documents in there that concerned Schering, and now
they have acknowledged that there are documents within the
Texas production that involved Schering or were Schering
produced documents, but Schering says it would be burdensome
for them to go through the Texas production to identify the
Schering documents. I think I can solve that problem. I have
a relationship with the Texas attorney general who's
cooperating with the City of New York and the County of Suffolk
and all of my other clients. They will provide us access to

the documents. We will do Schering's work for it. It needn't

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be bothered in the Slightest with this production. Schering

has produced to Suffolk here. They've acknowledged that they
Should be. Thé production has not been confined to Claritin,
We have received from Schering the documents that it produced
to the House Energy Committee. So they have produced: a broader
production here, so there can be no reasonable objection to us
receiving that which they produced to Texas, particularly where
we're willing to do the work, and of course include them in
whatever we receive from Texas so that there's nothing
inappropriate and that we don't go into warrant witnesses, so,
so for example.

THE COURT: Do you need a special agreement in place
to do this, or?

MS. CICALA: With Texas?

THE COURT: Yes.

MS. CICALA: To the extent we need to be singed on to
the Texas protective order, the Texas AG has agreed that we,
that they will facilitate that process for us. We've asked
Schering to not object to our signing on to the Texas
protective order. I would certainly include Schering in all my
communications with the Texas AG with regard to these documents
and copy them on any documents I receive from the Texas AG.
This needn't burden Schering in the slightest.

THE COURT: Problem with it?

MR. CHRISTOFFERSON: Yes, your Honor. Thank you. I,

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I'm not sure--

THE COURT: Too good to be true.

MR. CHRISTOFFERSON: Your Honor, I'm not sure if
you'd like a copy, I brought extra copies of opposition if
you'd like me to hand them up to you, or you'd rather it—

THE COURT: No, just argue it to me.

MR. CHRISTOFFERSON: Okay. Respectfully, your Honor,
I think that counsel for Suffolk is missing the point here. It
is true that pursuant to discovery requests in this litigation,
Schering has made available to the lead plaintiffs in this case
relevant documents from this Texas litigation. That entire
case though concerns generic products, including products
manufactured and marketed by Warrick. There were no claims in
that case that Schering did anything wrong with respect to any
of its drugs. The discovery produced by Schering and Warrick
in that case overwhelmingly related to Warrick and Warrick
Products, and there was lots of discovery in that case, nearly
400,000 pages worth. Although Ropes & Gray did not represent
Schering and Warrick in that action, local counsel, who has
submitted a declaration in support of our opposition, informs
us that there might have been some minimal amount of documents
produced in that production that did not relate exclusively to
Warrick or Warrick related products, and that may have had some
bearing on Schering. Judge Saris, however, has issued a stay

on discovery by Suffolk into claims, its claims against

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Warrick. So, all the documents produced in the Texas

litigation, except for some minimal amount, relate to claims
into which discovery is stayed. The only remaining question
would be whether these minimal needles in a giant haystack of
documents are even relevant to Schering, to Suffolk's claims
against Schering. We don't know the answer to that and could
not know the answer to that without ourselves reviewing the
entire production. ‘The suggestion that Suffolk go and do our
"work" for us, does not solve the problem, because then they
would have access to lots of documents, almost 400,000 pages
worth, that relate only to their claims into which discovery
has been stayed. It's simply unreasonable and unduly
burdensome for them to require Schering to sift through
hundreds of thousands of pages of documents to find a few that
May or may not be relevant to Suffolk's claims. In other
words, the burden that Schering would have to bear is grossly
disproportionate to the value that Suffolk would gain from some
few potentially relevant documents. The discovery here
violates Judge Saris' order because the claims to which it is
directed, the claims against Warrick have been stayed and are
hot subject to discovery at this time, regardless of to whom
the request might now only be made.

THE COURT: Why should I grant this with the stay in
place?

MS. CICALA: The stay is against, is at to Warrick. I

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absolutely agree. We don’t seek any Warrick documents. We

don't seek any deposition testimony from any Warrick witnesses.
We seek documents produced in Texas by Schering, which exist.
We seek Schering deposition transcripts, which exist. The
Texas AG has those documents identified as Schering documents
and those transcripts identified as Schering witnesses. I'm
not looking for anything that's stamped with a Warrick bates
number at this time. I'm talking about Schering documents and
Schering witnesses. So, in that regard, this in no way
violates Judge Saris' order. The issue devolves to burden and
we can relieve them of the burden by receiving only that which
is stamped Schering-Plough and only for witnesses that were
produced by Schering-Plough.

MR. CHRISTOFFERSON: Your Honor, if I may respond
just briefly? I think again counsel is missing the point. ft,
it doesn't matter to whom, you know, whether Schering as

Schering produced the documents. The documents that Schering

‘produced overwhelming related to Warrick and Warrick's

products. You would have to, she would have to then figure out
which of those documents were actually relevant to their
Claims, and according to the, the information that you received
from local counsel, those documents are minimal, minimal and it
would only be a handful. So whether Schering is required to go
through and wade through and find a handful of documents or

someone else, I guess the, the attorney general would find

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documents and then, you know, send them back to Suffolk.

Either way, it's going to require an amazing amount of effort
that is frankly disproportionate to the value.
MR. DeMARCO: Your Honor--

THE COURT: Mr. DeMarco?

MR. DeMARCO: -= just briefly. There's another
feature to this that my colleague, Mr. Muehlberger would like
to discuss with respect to other defendant in this aspect of
discovery,

MR. MUEHLBERGER: Your Honor, very briefly, this is
the first I've heard about the, possibly the County of Suffolk
signing on to the Texas Attorney General protective order. But
there are witnesses in that case, for instance plaintiffs’
expert in the MDL, Dr. Schondlemyer, as I understand it was
also an expert witness who rendered a report and I understand
also testified in deposition in the Texas AG case, which we
have not been privy to and not been allowed to see because of
the Texas AG order in place, and so what I simply raise, to the
extent the Court is inclined to consider to allow the County of
Suffolk to sign on the Texas Attorney General protective order,
defendants be allowed to consider that issue and perhaps file
something on the record to protect their interest and make sure
everybody is on the same playing field.

THE COURT: Al) right. I'll take a brief recess, come

back at quarter of twelve.

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(Recess, reconvene 11:51:16 a.m.)

(Court called into session)

THE COURT: All right, please be Seated. All right.
On docket ‘entry No. 1175, the motion is allowed subject to the
enforcement of the confidentiality order. I'd like to set a
deadline, so tell me what you think is a reasonable time for
production. -

MR. MCGINTY: Your Honor, I would suggest that that
deadline should be 90 to 120 days. These documents by and large
are located in Sacramento. They will have to be reviewed.
They will have to be vetted for privilege, and it's going to
take some time to do that. In addition, many of these
documents are in electronic format and, as it stands right now,
I'm unaware of what, if any, systems are in place in order to
access some of those documents. So we should have a
significant amount of time.

THE COURT: Well, I could give you 90 days, but what
about phasing it as things become available?

MR. McGINTY: Your Honor, we have no objection to.
that, and as a matter of fact, in the productions that have
been taking place at this point, we have been producing on a
rolling basis that by agreement with Mr. Mangi's office. So, I
would not abject to that.

THE COURT: Okay.

MR. MANGI: May I be heard, your Honor?

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THE COURT: All right.

MR. MANGI: Your Honor, very briefly, there, there's
separate components to this motion. First producing an
un~redacted copy of what they've already produced, that takes
no time. Just take off the tape, and copy it again. So we
submit that should be produced within 14 days. The second
component is a production of claims data.

THE COURT: Can you do that within 14 days?

MR. McGINT¥: I do not know, your Honor, whether that
can be done that quickly. I would suggest that the order the
Court was intending to enter is probably the right one.

THE COURT: Well--

MR. McGINTY: But we. will-~

THE COURT: -- what I'd like to do is say 90 days,
but let's set a tentative schedule for the phases. So if you
could do this within four, the first 14--

MR. McGINTY: Yes, your Honor. As I, as I have, have
indicated, we are willing to produce on a rolling basis, as
we're able to do it. I think that the outside limit of 90
days, should, should stay in place, but I will represent to the
Court and to Mr. Mangi that we will produce on a rolling basis
as we are able to do that.

THE COURT: But let's see if we can set a schedule
for that rolling basis.

MR. MANGI: Your Honor, if, if I may just speak to

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the two other components of this? The second component is

Claims data. Health Net has represented to us in numerous
letters that are appended to our motion they can produce claims
data within six to eight weeks of start. Given that summary
judgment is, is fast up and coming in this case, we would
request that they be held to that schedule. And the third
component of it, are these additional documents. Again your
Honor, these are very specific documents. They won't be more
than that high. There are no privilege issues. Most of them
are just contracts. Ninety days, we would submit, is entirely
unrealistic and we would submit that certainly the un-redacted
production in 14 days, original--

THE COURT: All right, un~redacted production, 14
days.

MR. MANGI: The claims data within, they ask for six
to eight weeks, we'll say eight weeks is fine.

THE COURT: All right.

MR. MANGI: And the additional documents--

THE COURT: So, six to eight weeks, so will give you
the 60 days on that.

MR. MANGI: And these additional documents, your
Honor, which is again as I mentioned, just a handful, we would
suggest those could be produced within a month. I mean, the
subpoena has been out there since November or 03.

THE COURT: All right, within 30 days.

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MR. McGINTY: Your Honor, if I may. ‘The

representation that was previously made to Mr. Mangi's office
was that it would, it would take eight weeks after we had
systems in place in order to locate and access the documents.
Eight weeks is two, is two months. It's 60 days essentially. I
would request that the Court stand upon the original intent of
90 days because it's going to take us eight weeks after we get
the systems in place and, and there's an, an unknown amount of
time to get that done. I think 90 days is a much more
reasonable estimate for, for producing~~

THE COURT: For final completion.

MR. McGINTY: Yes, your Honor.

THE COURT: But phased in as we've- said here teday.

MR. MANGI: Your Honor, on claims data, we got claims
data from other defendants within four days, within five days.
This, this eight weeks is outlandish to begin with, but that's
the maximum we can work with to be able to use this data for
summary judgment.

THE COURT: Yes, I mean I had, haven't thought of the
Summary judgment issue since I'm not dealing with that so, I'm
inclined to say 60 not 80, not 90.

MR. McGINTY: Your Honor, may I inquire because 1 am
unaware. When is the summary judgment motion scheduled to be
heard?

THE COURT: Well, to be heard, I don't know.

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MR. McGINTY: When is it scheduled to be briefed?

MR. MANGI: Your Honor, I believe summary judgment is
in, is in May. Is that correct?

UNIDENTIFIED: Yes.

THE COURT: Well--

MR. MANGI: Your Honor, Plus on, on the other claims
data~-

THE COURT: You know, at the end of the 60 days, if
it's not done, we'll deal with it. But let's, let's shoot for
60, rather than 90.

MR. MANGI: Your Honor, the, the only remaining issue
on, there was one minor lingering issue which is that of Health
Net has put these water marks on their documents. They're
expressly forbidden in CMO 10. They obscure text. Judge Saris
explicitly forbade them. We told them that. They still did
it. We ask for clarification on that Matter also. It's in our
proposed order.

MR. McGINTY: Your Honor, there are water marks on
the documents. I've seen every one of them. Not one of then
obscures text. They are a gray background, rather than an
overlay.’ I'm personally unaware of what Judge Saris has
ordered.

THE COURT: Are these watermarks already on the

documents?

MR. McGINTY: They are already on the documents that

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have already been produced.

MR. MANGI: Your Honor, they're, they're highly
confidential 1456, all over the Page. They can just be put. on
the bottom right like every other document in the case. .

MR. McGINTY: They, they are, they are again, your
Honor, I’ve seen, I have personally seen each and every page of
these. They, they are not all over the page. They are in the
center. They are a gray background. They do not obscure any
text.

THE COURT: Well, if they obscure something, then you
have to produce it a second time in a non-obscure forn.

MR. MANGI: Your Honor, counsel's point is that they
are in grayscale. The color of grayscale varies by the
photocopy. Judge Saris said put them where, outside the text.

THE COURT: You know, I don't want to deal with this,
Work it out.

MR. MANGI: Your Honor-~

THE COURT: Work it out. Get together. Work it out
SO everybody can read everything.

MR. MANGI: Thank you, your Honor.

MR. McGINTY: Your Honor, for my edification, I
perhaps didn't make my notes as as completely clear as they
should be. May I ask if the Court would summarize what the
order, what the order is?

THE COURT: Get a copy of the transcript.

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MR. McGINTY: Is there one, is there a trans-~

THE COURT: Well, they’1l have to be prepared.

MR. MANGI: _I have good notes. I'll be happy to
discuss-~

THE COURT: Okay, outline how you believe--

MR. MANGI: Absolutely.

THE COURT: -- I've stated. -

MR. MANGI: Your Honor, the production, the documents
that have already been produced, your Honor has said that they
should be produced in their un-redacted form, presumably
including missing pages, within 14 days.

THE COURT: Slow, slow down so that he can take it
down.

MR. McGINTY: A little slower, Adil, please.

MR. MANGI: Oh, I apologize. |

THE COURT: Wait, let him get this--

MR. McGINTY: I, I got that.

THE COURT: You got that.

MR. McGINTY: But a little slower next time.

MR. MANGI: I personally wrote a big 14. The, the
additional documents that are identified in our October 15,
2004 letter, which follow depositions, your Honor has ordered
the production of those documents within 30 days. And the
production of claims data, your Honor has ordered within 60

days.

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THE COURT: Clear enough?

MR. McGINTY: Yes, your Honor, simply that that 60
days subject to reevaluation depending on what the technical
issues are.

THE COURT: I'll listen to you. You know, you get to
that point, you file a motion, I'll hear you.

MR. McGINTY: Okay.

THE COURT: But, you know, always try and talk with
each other and see if you can try and work things out, and, you
know, as to the watermarks, see if you can work this issue out.
I mean this is--

MR. McGINTY: We, we do speak to each other, your
Honor, regularly. I'm sure that as reasonable people, we can
resolve that.

THE COURT: All right, as to docket entry No. 1189,
the motion is denied. I'm afraid you are bound by what liaison
counsel has done in the past, and I think you have to talk to
liaison counsel and make that Clear.

As to 1300, it's denied without prejudice at this
time, having heard from Mr. DeMarco's co-counsel. Ill give
everybody else 14 days to weigh in on this if they want to file
anything.

MS. CICALA: ‘Thank you, your Honor.

THE COURT: All right, and then when you, when we get

everything, we can set up another hearing date

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MS. CICALA: Thank you.

MR. CHRISTOFFERSON: Your Honor, just a quick point
of clarification, are you inviting further submissions by, by
Schering & Suffolk or just, you know, other defendants?

THE COURT: Well, you've, did, I mean, dia you really
get much of chance to respond?

MR. CHRISTOFFERSON: We, we did file~-

THE COURT: You're satisfied. T mean-~—

MR. CHRISTOFFERSON: Okay. Thank you, your Honor.

THE COURT: If anybody else wants to respond, only
because it was just yesterday. Okay.

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CERTIFICATION

I, Maryann V. Young, court approved transcriber, certify
that the foregoing is a correct transcript from the official
digital sound recording of the proceedings in the

above-entitled matter.

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